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IN THE UNITED STATES DISTRICT coURT ' ~"v-
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UNITED STATES OF AMERICA,

 

Plaintiff,
vs. No. 04-20390B

RICK L . WOOD,

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Defendant.

 

ORDER AMENDING BOND

 

On July 13, 2005, the defendant, Rick Wood, appeared in court
for an initial appearance on a charge of violation of the terms and
conditions of his pretrial release. The government requested his
bond be revoked. The defendant was advised of his right to have a
bond revocation/detention hearing.

In accordance with 18 U.S.C. § 3148 of the Bail Reform Act, a
bond revocation/detention hearing was held on July 27, 2005. After
consultation with counsel, the defendant requested that he be
allowed to participate in a residential drug treatment program at
Serenity Park in Little Rock, Arkansas beginning August 15, 2005.
The defendant requested that he be allowed to remain on his present
bond until admitted to Serenity Park. The government concurred.

Based on statement of counsel at the hearing, the court

concludes that the defendant is in need of a residential drug

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treatment program. The Order Setting Conditions of Release
("Order") entered September 20, 2004, is amended to include the
following condition effective immediately: Defendant shall
participate in a residential drug treatment program at Serenity
Park in Little Rock, Arkansas, beginning August 15, 2005. All
other conditions of release previously imposed remain in effect.
The petition to revoke the bond is denied at this time.

IT IS SO ORDERED.

MM%LM

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

Date: W ,27' 1005
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UNITED STEATS DSTIRIC COURT - WERSTEN DISTRICT TNNESSEE

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Honorable J. Breen
US DISTRICT COURT

